: Case 08-10322-KG Doc 1025 Filed 07/17/08 Page 1 of 2

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

| x

 

 

in re: . Chapter 11
SHARPER IMAGE CORPORATION,! Case No, 08-10322 (KG)
Debtor. | : Re: Docket No. 797
xX

ORDER PURSUANT TO SECTION 1121(d)
EXTENDING THE EXCLUSIVE PERIODS DURING WHICH
DEBTOR MAY FILE A PLAN AND SOLICIF ACCEPTANCES THEREON

 

1 Upon the motion, dated J ung 5, 2008 (the “Motion”)’, of Sharper Image
Corporation, as debtor and debtor in possession (“Sharper Image”), for an order, pursuant to
section 1121 (d) of title 11 of the United States Code (the “Bankruptcy Code”), extending the
Plan Penod to Sepiember 16, 2008 and the Solicitation Period to November 15, 2008, all as more
fully sct forth in the Motion; and the Court having jurisdiction to consider the Motion and the
telief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion
and the relicf requested there being 4 core proceeding pursuant to 28 U.S.C. §157(b); and
venue being proper before this Court pursuant to 28 U.S.C. $§ 1408 and 1409; and due and
proper notice of the Motion having been provided to (i) the United States Trustee of the District
of Delaware, (ii) the attorneys for the Statutory Creditors’ Commnittee, (iit) the attorneys for
Sharper lmage’s secured lender, Wells Fargo Retail Finance, LLC, and (iv} each person or entity

that has filed a notice of appearance and request for service of documents herein, and no other or

 

"The address of the Debtor’s principal executive offices is 330 The Embarcadero, 6th Floor, San Francisco,
Califomin 94105. The Debtor's RIN is XX-XXXXXXX.

Does 1 1 n : - . - -
Caprlalized terms used but not defined herein shall have the meanings ascribed to them in the Motion
 

Case 08-10322-KG Doc 1025 Filed 07/17/08 Page 2of2

further notice being required; and the relief requested in the Motion being in the best interests of

Sharper Image, its estate, and its creditors; and|the Court having reviewed the Motion and having

 

heard the statements in support of the relief requested therein at a heanng before the Court (the
“Heanng”); and the Court having determined that the legal and factual bases set forth in the
Motion and at the Hearing cstablish just cause for the relicf prantcd herein; and upon all of the
proceedings had betore the Court; and after due deliberation and sufficient cause appeannyg
therefor, it is hereby

ORDERED that the Motion is granied; and it 1s further

ORDERED that, pursuant to section 1121(d)} of the Bankruptcy Code, Sharper
Images Plan Period ts extended through and including September 16, 2008; and it is further

ORDERED that, pursuant to section |121(d) of the Bankruptcy Code, Sharper
Image’s Solicitation Period is extended through and including November 15, 2008; and it is
further

ORDERED that the extension of the Exclusive Penods granted herein is without
prejudice to such further requests that may be made pursuant to section 1121(d) of the
Bankruptcy Code,

Dated: July do. 2008
Wilmington, Delaware

 

THE HONQRABIE IN GROSS
UNITED STATES BANKRUPTCY JUDGE
